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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

ELECTRONIC PRIVACY
INFORMATION CENTER

Plaintiff,
Vv.

Civil Action No. 1:13-cv-01961(KBJ)

UNITED SFATES DEPARTMENT
OF JUSTICE

Defendant.

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SECOND DECLARATION OF DAVID M. HARDY

I, David M. Hardy, declare as follows:

(1) I am currently the Section Chief of the Record/Information Dissemination Section
(“RIDS”), Records Management Division (“RMD”), in Winchester, Virginia. I have held this
position since August 1, 2002. Prior to joining the Federal Bureau of Investigation (“FBI”), from
May 1, 2001 to July 21, 2002, I was the Assistant Judge Advocate General of the Navy for Civil
Law. In that capacity, I had direct oversight of Freedom of Information Act (“FOIA”) policy,
procedures, appeals, and litigation for the Navy. From October 1, 1980 to April 30, 2001, I
served as a Navy Judge Advocate at various commands and routinely worked with FOIA
matters. | am also an attorney who has been licensed to practice law in the state of Texas since
1980.

(2) In my official capacity as Section Chief of RIDS, I supervise approximately 223
employees who staff a total of ten (10) Federal Bureau of Investigation Headquarters (“FBIHQ”)

units and two (2) field operational service center units whose collective mission is to effectively
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plan, develop, direct, and manage responses to requests for access to FBI records and
information pursuant to the FOIA, amended by the OPEN Government Act of 2007; the Open
FOIA Act of 2009; the Privacy Act of 1974; Executive Order 13526; Presidential, Attorney
General, and FBI policies and procedures; judicial decisions; and other Presidential and
Congressional directives. I have been designated by the Attorney General of the United States as
an original classification authority and a declassification authority pursuant to E.O. 13526, §§ 1.3
and 3.1. The statements contained in this declaration are based upon my personal knowledge,
upon information provided to me in my official capacity, and upon conclusions and
determinations reached and made in accordance therewith.

(3) Due to the nature of my official duties, | am familiar with the procedures followed
by the FBI in responding to requests for information from its files pursuant to the provisions of
the FOIA, 5 U.S.C. § 552, and the Privacy Act of 1974, 5 U.S.C. § 552a. Specifically, I am
aware of the FBI's handling of the Department of Justice referrals to the FBI from the National
Security Division (“NSD”), pertaining to a Freedom of Information Act (“FOIA”) request made
by plaintiff, Electronic Privacy Information Center. The plaintiff requested records used to draft
the semiannual reports on the use of pen registers and trap and trade (“PR/TT’) devices for
national security purposes.'

(4) | NSD forwarded a number of documents to the FBI as a consult referral. The FBI
carefully reviewed and processed those documents under the FOIA, and filed a Vaughn
declaration dated October 30, 2014 addressing its withholdings. Due to an administrative error,
the FBI did not address some of the challenged documents; therefore, the FBI is filing this

second declaration to address the remaining documents. The FBI respectfully requests the

1 The Foreign Intelligence Surveillance Act (“FISA”) of 1978, P.L. 95-511, 50 U.S.C. 8 1801 et seq, as amended,
provides a statutory framework for the U.S. government to engage in electronic surveillance through the installation
and use of pen registers and trap and trace devices for the purpose of obtaining foreign intelligence information. See
Title IV of FISA, 50 U.S.C. 88 1841-1846.

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Court to accept this declaration as a supplement to the previously-filed declaration. This
declaration incorporates my declaration dated October 30, 2014 (hereinafter “First Hardy
Declaration’).

(5) In accordance with Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973), this
declaration is submitted to supplement the First Hardy Declaration and to support defendant’s
motion for summary judgment. The declaration will justify the FBI’s withholding of information
in full pursuant to FOIA Exemptions 1, 3, and T(E)” 5 U.S.C. §§ 552 (b)(1), (b)(3), and
(WE).

EXPLANATION OF THE CODED FORMAT USED FOR THE
JUSTIFICATION OF DELETED MATERIAL

(6) All documents have been thoroughly reviewed to achieve maximum disclosure
consistent with the access provisions of the FOIA. Every effort has been made to provide
plaintiff with all material in the public domain and with all reasonably segregable portions of
releasable material. All material withheld by the FBI is exempt from disclosure pursuant to a
FOIA exemption. Each page has been consecutively numbered - “EPIC-241 through EPIC-511.”
The withheld in full pages have been replaced by a Deleted Page Information Sheet, which
identifies the reason and/or applicable FOIA exemptions relied upon to withhold the page in full
as well as the corresponding Bates number. The Deleted Page Information Sheets have been
provided to plaintiff and will be made available to the Court upon request.

(7) The withheld in full pages contain coded categories of exemptions which detail
the nature of the withheld information. The coded categories are provided to aid the Court and

plaintiff in reviewing the FBI’s explanation for invoking various FOIA exemptions to protect

2 The Vaughn Declaration only covers those FOIA Exemptions specifically challenged in plaintiff's 9/18/2014
email. Those exemptions are (b)(1), (b)(3), and (b)(7)(E). Also, upon subsequent review of the challenged
documents, the FBI is asserting FOIA Exemption (b)(7)(A) for document #15 in addition to (b)(1), (b)(3), and
(b)(7)(E). See infra { 10.

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exempt material. A review of this information will reveal that the withheld material is exempt
from disclosure pursuant to a FOIA exemption, or is not reasonably segregable from exempt
information.

MECHANICS OF USING THE CODED FORMAT
WITH THE EXEMPTION CATEGORIES

(8) Each withholding has a marking next to it denoting the applicable FOIA
exemption as well as a numerical designation identifying the specific nature of the withheld
information. For example, on Bates page EPIC-241, Exemption (b)(7)(E)—1 is cited to protect
the FBI’s investigative techniques and procedures. The “(b)(7)(E)” designation refers to FOIA
Exemption 7(E) concerning Investigative Techniques and Procedures. The numerical
designation “1” following the (b)(7)(E) narrows the category of protected information from the
main category to a more specific subcategory, “Investigative Techniques and Procedures.” The
coded categories are used to assist the Court and plaintiff in their review of the FBI’s
withholdings among the challenged documents.

SUMMARY OF JUSTIFICATION CATEGORIES

CODED CATEGORIES INFORMATION WITHHELD
Category (b)(1) CLASSIFIED INFORMATION
1.4(c) Intelligence Activities Sources and Methods
(b)(1)-1 [cited, at times, in conjunction with (b)(3) and/or
(b)(7)(E)]
Category (b)(3) INFORMATION PROTECTED BY STATUTE
Information Specifically Exempted by 50 U.S.C.
(b)(3)-1 § 3024 (i)(1) (National Security Act of 1947)
[cited, at times, in conjunction with (b)(1) and/or
(b)(7(E)I
INVESTIGATIVE TECHNIQUES AND
Category (b)(7)(E) PROCEDURES
(b)(7)\(E)-1 Investigative Techniques and Procedures [cited, at

times, in conjunction with (b)(1) and (b)(3)]

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CODED CATEGORIES INFORMATION WITHHELD

(b)(7)(E)-S

Specific Law Enforcement Technique Utilized to
Conduct National Security Investigations [cited, at
times, in conjunction with (b)(1) and (b)(3)]

(9)

JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

Below is a list of the withheld in full documents, the asserted FOIA exemptions,

and the nature of the withheld information.

(10)

DESCRIPTION OF DOCUMENTS

The documents at issue are as follows:

PR-BR Order for Additional Briefing’ — Document #12 (Bates pages EPIC-241-
244)

PR-BR Order - Document #13 (Bates pages EPIC-245-249)

PR-BR Order Authorizing the Installation and Use of Pen Register(s) and Trap
and Trace Device(s) and Requiring the Production of Certain Tangible Things —
Document #14 (Bates pages EPIC-250-256) .

PR-BR Order — Document #15 (Bates pages EPIC-257-273)

PR-BR Order* — Document #16 (Bates pages EPIC-274-290)

PR-BR Order’ — Document #17 (Bates pages EPIC-291-298)

PR-BR Opinion and Order — Document #18 (Bates pages EPIC-299-300)
PR-BR Order — Document #19 (Bates pages EPIC-301-317)

PR/TT Order — Document #20 (Bates pages EPIC-318-319)

PR/TT Order — Document #21 (Bates pages EPIC-320-336)

PR/TT Supplemental Opinion — Document #22 (Bates pages EPIC-337-340)
PR/TT Primary Order — Document #23 (Bates pages EPIC-341-347)

PR/TT Order — Document #24 (Bates pages EPIC-348-353)

PR/TT Supplemental Order for three cases - Document #25 (Bates pages EPIC-
354-357)

Order — Document #26 (Bates pages EPIC-358-367)

PR/TT Primary Order — Document #27 (Bates pages EPIC-368-387)
PR/TT Primary Order — Document #28 (Bates pages EPIC-388-400)
PR/TT Primary Order — Document #29 (Bates pages EPIC-401-426)

3 This PR/BR order was withheld in full in civil action no. 11-cv-5221. The withholding was upheld by the U.S.
District Court for the Northern District of California.
4 This PR/BR order was withheld in full in civil action no. 11-cv-5221. The withholding was upheld by the U.S.
District Court for the Northern District of California.
5 This PR/BR order was withheld in full in civil action no. 11-cv-5221. The withholding was upheld by the U.S.
District Court for the Northern District of California.

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e Response to Orders for Additional Briefing - Document #68 (Bates pages EPIC-
427-511)

(11) All documents listed above involve descriptions of specific methods utilized by
the FBI in collecting foreign intelligence and the techniques used in gathering such information
under a FISA Pen Register and Business Records (““PR/BR”) order or a Pen Register and Trap
and Trace (““PR/TT”) order. The FBI employs these methods and techniques in its national
security investigations with the purpose of collecting intelligence and the goal of protecting the
United States from international terrorism.

(12) Documents 12 through 19 and 68 are orders and a response to orders for
additional briefing issued by the Foreign Intelligence Surveillance Court (“FISC”) in relation to
the collection of foreign intelligence information through the issuance of a PR/BR order. The
FBI has withheld these documents in full because a specific investigative method and technique
is discussed in all nineteen (19) documents, and each one provides various levels of detail. For
example, documents 13 through 19 are FISC orders which provide details and investigative
information regarding the underlying FISA application, the type and character of information to
be collected from the PR/BR as well as details about the particular proceeding before the FISC.
Additionally, document 68 is a response to orders for additional briefing in reference to a request
for two PR/BR orders. This document discusses the method and technique in detail providing a
discussion on the legal standards, citing particular case law, highlighting the legislative history as
well as articulating policy considerations in utilizing this specific method and technique.
Attached to document 68 are four West Law case print outs. The FBI withheld these print outs
in full because they directly relate to the specific method and technique discussed in documents
12 through 19, and in the remaining parts of document 68. The FBI is withholding the case law

print outs, which are otherwise public source, in full under the same reasoning discussed in {J 20

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and 53 of the First Hardy Declaration. As stated in the previous declaration, the release of
seemingly “innocuous” information, when read in conjunction with the other documents, would
reveal critical details about an important investigative method and technique used by the FBI in
national security investigations.°

(13) Documents 20 through 25 and 27 through 29 are FISC orders involving the
collection of foreign intelligence information through a specific method and technique used by
the FBI in connection to PR/TT orders.’ All nine documents involve the same classified method
and technique, and each order provides varying levels of detail. For example, the FISC orders
discuss classified investigative information regarding the underlying FISA applications, the type
and character of information to be collected through the PR/TT order as well as details regarding
that particular FISC court proceeding.

(14) Document 26 is a PR/TT order issued by a United States District Court involving
the same method and technique described in § 31 of the First Hardy Declaration as well as in J
13 above. The order provides details regarding the specific method and technique, for example,

details regarding the underlying FISA application, the type and character of information to be

collected through the PR/TT order as well as details regarding those specific FISC proceedings.

EXEMPTION (b)(1)
CLASSIFIED INFORMATION

(15) 5US.C. § 552 (b)(1) exempts from disclosure records that are:

(A) — specifically authorized under criteria established by an Executive Order to
be kept secret in the interest of national defense or foreign policy; and

(B) are in fact properly classified pursuant to such Executive Order.

(16) Before I consider an Exemption 1 claim for withholding agency records, I

6 See First Hardy Decl., fn. 18.
7 See First Hardy Decl. at ¥ 31 for a detailed description of the specific method and technique.
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determine whether the information in those records is information that satisfies the requirements
of E.O. 13526, the Executive Order that governs the classification and protection of information
that affects the national security,® and whether the information complies with the various
substantive and procedural criteria of the Executive Order. E.O. 13526, signed by President
Barack Obama on December 29, 2009, is the Executive Order that currently applies to the
protection of national security information. J am bound by the requirements of E.O. 13526,
when making classification determinations.”

(17) | For information to be properly classified, and thus, properly withheld from
disclosure pursuant to Exemption (b)(1), the information must meet the requirements set forth in
E.O. 13526, §1.1 (a):

(1) an original classification authority is classifying the information;

(2) the information is owned by, produced by or for, or is under the control of
the United States Government;

(3) the information falls within one or more of the categories of information
listed in §1.4 of this order; and

(4) the original classification authority determines that the unauthorized
disclosure of the information reasonably could be expected to result in
damage to the national security, which includes defense against

transnational terrorism, and the original classification authority is able to
identify or describe the damage.

(18) As Iwill explain in further detail below, in my role as an original classification
authority, I have determined that the information withheld pursuant to Exemption (b)(1) is under
the control of the United States Government, is classified and requires a classification marking at
the “Secret” level because “the unauthorized disclosure of which reasonably could be expected

to cause serious damage to the national security” and at the “Top Secret” because “the

® Section 6.1 (cc) of E.O. 13526, defines “National Security” as “the national defense of foreign relations of the
United States.”

° The FBI can provide an in camera, ex parte declaration detailing its use of (b)(1) if requested by the Court.
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unauthorized disclosure of which reasonably could be expected to cause exceptionally grave
damage to the national security.” See E.O. 13526, §1.2(a)(1)and(2). In addition to these
substantive requirements, certain procedural and administrative requirements of E.O. 13526 must
be followed before information can be considered to be properly classified, such as proper
identification and marking of documents. I made certain that all procedural requirements of E.O.
13526 were followed in order to ensure the information was properly classified. I made certain

that:

(1) each document was marked as required and stamped with the proper
. classification designation;

(2) each document was marked to indicate clearly which portions are
classified, which portions are exempt from declassification as set forth in
E.O. 13526, §1.5 (b), and which portions are unclassified;

(3) the prohibitions and limitations on classification specified in E.O. 13526,
§1.7, were adhered to;

(4) the declassification policies set forth in E.O. 13526, §§3.1 and 3.3 were
followed; and

(5) any reasonably segregable portions of these classified documents that did
not meet the standards for classification under E.O. 13526 were
declassified and marked for release, unless withholding was otherwise
warranted under applicable law.

Findings of Declarant

(19) With the above requirements in mind, I personally and independently examined
the information withheld from plaintiff pursuant to FOIA Exemption 1. I determined that this
classified information is owned by, was produced by or for, and/or is under the control of the
U.S. Government. I further determined that the classified information continues to warrant
classification at the “Secret” and “Top Secret” levels and is exempt from disclosure pursuant to

E.O. 13526, §1.4, categories (c) intelligence activities (including covert action), intelligence

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sources and methods, or cryptology.

(b)(1)-1: E.O. 13526, § 1.4(c) — Intelligence Activities, Sources and Methods

(20) E.O. 13526, § 1.4(c), exempts intelligence activities (including covert action),
intelligence sources or methods, or cryptology from disclosure. An intelligence activity or
method includes any intelligence action or technique utilized by the FBI against a targeted
individual or organization who has been determined to be of national security interest. An
intelligence method is used to indicate any procedure (human or non-human) utilized to obtain
information concerning such individual or organization. An intelligence activity or method has
two characteristics. First, the intelligence activity or method -- and information generated by it --
is needed by U. S. Intelligence Community to carry out its foreign intelligence and
counterintelligence missions. Second, confidentiality must be maintained with respect to the
activity or method if the viability, productivity and usefulness of its information is to be
preserved. As described in detail below, the withheld information is protected by Exemption |
because it describes intelligence activities, sources, and methods utilized by the FBI in gathering
intelligence information. The information falls squarely within the meaning of §1.4(c).
Additionally, the FBI is also asserting FOIA Exemption (b)(3) [50 U.S.C. § 3024 (1)(1)]
(National Security Act of 1947) in conjunction with (b)(1) and is, at times, claiming (b)(7)(E).

(21) The FBI has protected information under FOIA Exemption (b)(1) because it is
classified and the release of such information would reveal actual intelligence activities and
methods used by the FBI against specific targets who are the subject of foreign
counterintelligence investigations or operations; identify a target of a foreign counterintelligence
investigation; or disclose the intelligence gathering capabilities of the activities or methods

directed at specific targets. The information obtained from the intelligence activities or methods

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is very specific in nature, provided during a specific time period, and known to very few
individuals.

(22) It is my determination that disclosure of specific information describing the
intelligence activities or methods that have been or are being used within these documents, and
are still used by the FBI in gathering intelligence information in other cases, could reasonably be
expected to cause serious damage and exceptionally grave damage to the national security for the
following reasons: (1) disclosure would allow hostile entities to discover the current intelligence
gathering methods used by the FBI; (2) disclosure would reveal current specific targets of the
FBI’s national security investigations; and (3) disclosure would reveal the determination of the
criteria used and priorities assigned to current intelligence or counterintelligence investigations.
With the aid of this detailed information, hostile entities and individuals could develop
countermeasures which would, in turn, severely disrupt the FBI’s intelligence gathering
capabilities. This major disruption could result in severe damage to the FBI’s efforts to detect
and apprehend violators of the United States’ national security and criminal laws.

(23) The documents at issue were originally submitted to the FISC in support of the
U.S. government’s application for an order granting the use of a PR/BR and PR/TT, to be used
on particular targets, in relation to national security investigations. The classified information
within these documents pertains to specific investigative methods and techniques used by the
FBI in collecting foreign intelligence information. The FBI’s ability to use these methods and
techniques while conducting electronic surveillance on a specified target through the use of a
PR/BR and PR/TT is an important tool in gathering intelligence information. Revealing details
about the specific investigative methods and techniques would interfere with the FBI’s ability to
effectively conduct national security investigations. The classified information withheld in these

documents contains detailed intelligence activity information gathered or compiled and

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intelligence sources and methods used by the FBI on specific individuals who are the subject of
national security investigations. The disclosure of this information, and the investigative
methods and techniques detailed within, could reasonably be expected to cause serious or
exceptionally grave damage to our national security, as it would: (a) reveal the actual intelligence
activity or method utilized by the FBI against a specific target; (b) disclose the intelligence-
gathering capabilities of the method; and (c) provide an assessment of the intelligence source
penetration of a specific target during a specific period of time. This information is properly
classified at the “Secret” and “Top Secret” levels and withheld pursuant to E.O. 13526, § 1.4(c).
Accordingly, this information is exempt from disclosure pursuant to Exemption 1.

(24) It is my determination that the release of this information could permit hostile
non-U.S. persons, entities, and foreign governments to appraise the scope, focus, location, target
and capabilities of the FBI's intelligence-gathering methods and activities, and allow hostile
agents to devise countermeasures to circumvent these intelligence activities or methods and
render them useless in providing intelligence information. This revelation of intelligence
activities and methods would severely disrupt the FBI's intelligence-gathering capabilities and
could cause serious or exceptionally grave damage to our national security. This information is
properly classified at the “Secret” and “Top Secret” levels and withheld pursuant to E.O. 13526,
§ 1.4(c). Thus, the information is exempt from disclosure pursuant to Exemption 1. ’°

EXEMPTION (b)(3)
INFORMATION PROTECTED BY STATUTE

(25) 5US.C. § 552 (b)(3) exempts from disclosure information that is specifically
protected by statute... provided that such statute (A)(i) requires that the matters be withheld from

the public in such a manner as to leave no discretion on the issue, or (ii) establishes particular

© Exemption (b)(1)-1 has been cited in conjunction with (b)(3) and, at times, in conjunction with (b)(7)(E) on the
following pages: EPIC-241-357 and EPIC-368-476.

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criteria for withholding or refers to particular types of matters to be withheld; and (B) if enacted
after the date of enactment of the OPEN FOIA Act of 2009, specifically cites to this paragraph.
The FBI asserted Exemption (b)(3) in conjunction with Exemption (b)(1) and, at times, in
connection with (b)(7)(E) to protect the intelligence sources and methods described above. The

basis for the FBI’s invocation of Exemption (b)(3) is detailed below.

(b)(3)-1: Information Specifically Exempted by 50 U.S.C. § 3024 (DQ)
(National Security Act of 1947)

(26) The FBI has asserted Exemption (b)(3)-1 in conjunction with Exemption (b)(1)
and at times, with (b)(7)(E) to protect information pursuant to Section 102A(Q)(1) of the National
Security Act of 1947 (“NSA”), as amended by the Intelligence Reform and Terrorism Prevention
Act of 2004 (““IRTPA”), 50 U.S.C. § 3024 (i)(1), which provides that the Director of National
Intelligence (“DNT’) “shall protect from unauthorized disclosure intelligence sources and
methods.”!! As relevant to U.S.C. § 552 (b)(3)(B), the National Security Act of 1947 was
enacted before the date of enactment of the OPEN FOIA Act of 2009. On its face, this federal
statute leaves no discretion to the DNI about withholding from the public information about
intelligence sources and methods. Thus, the protection afforded to intelligence sources and
methods by 50 U.S.C. § 3024(i)(1) is absolute. See CIA v. Sims, 471 U.S. 159 (1985).

(27) To fulfill its obligation of protecting intelligence sources and methods, the DNI is
authorized to establish and implement guidelines for the Intelligence Community (“IC’’) for the
classification of information under applicable laws, Executive Orders, or other Presidential
Directives, and for access to and dissemination of intelligence. 50 U.S.C. § 3024(i)@)(1). The
FBI is one of 17 member agencies comprising the IC, and as such must protect intelligence

sources and methods.

"! Section 1024(i)(1) of the National Security Act was previously codified at 50 U.S.C. § 403(i)(1). As a result of
the reorganization of Title 50 of the U.S. Code, Section 102A(i)(1) is now codified at 50 U.S.C. § 3024(@)(1).

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(28) As described above, Congress enacted the NSA, as amended by the IRTPA, to
protect the IC’s sources and methods of gathering intelligence. Disclosure of such information
presents the potential for individuals to develop and implement countermeasures, which would
result in the loss of significant intelligence information, relied upon by national policymakers
and the IC. Given that Congress specifically prohibited the disclosure of information pertaining
to intelligence sources and methods used by the IC as a whole, I have determined that the FBI’s
intelligence sources and methods would be revealed if any of the withheld information is
disclosed to plaintiff. Thus, the FBI is prohibited from disclosing information falling under 50
U.S.C. § 3024)(1). Accordingly, this information was properly withheld pursuant to
Exemption 3, based on 50 U.S.C. § 3024(i)(1).”

EXEMPTION (b)(7) THRESHOLD

(29) Exemption (b)(7) of the FOIA protects from mandatory disclosure records or
information compiled for law enforcement purposes, but only to the extent that disclosure could
reasonably be expected to cause one of the six sets of harms enumerated in the subpart of the
exemption. See 5 U.S.C. § 552 (b)(7). The enumerated harm that could reasonably be expected
to result is - the disclosed information could reasonably be expected to interfere with and reveal
law enforcement techniques and procedures which, if made public, could be used to circumvent
the law.

(30) Before an agency can invoke any of the harms enumerated in Exemption (b)(7),
it must first demonstrate that the records or information at issue were compiled for law
enforcement purposes. Pursuant to 28 U.S.C. §§ 533, 534, and Executive Order 12,333 as

implemented by the Attorney General’s Guidelines for Domestic FBI Operations (AGG-DOM)

2 Exemption (b)(3)-1 has been cited with (b)(1) and, at times, in conjunction with (b)(E) on the following pages:
EPIC-241-357 and EPIC-368-476,.

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and CFR § 0.85, the FBI is the primary investigative agency of the federal government with
authority and responsibility to investigate all violations of federal law not exclusively assigned to
another agency, to conduct investigations and activities to protect the United States and its
people from terrorism and threats to its national security, and further the foreign intelligence
objectives of the United States. Under this investigative authority, the responsive records herein
were compiled for the purposes of investigating and gathering intelligence information, and
apprehending and prosecuting subjects who have committed acts of terrorism against the United
States, and such records relate to the enforcement of federal laws and such activity is within the
law enforcement duty of the FBI. Accordingly, the responsive records were generated pursuant
to the law enforcement duties of the FBI as articulated above. The FBI is responsible for
detecting and investigating violations of Federal criminal laws, international terrorism, and
threats to national security. All records responsive to plaintiff's request and referred to the FBI
pertain to national security investigations and specify the methods and techniques used in
gathering intelligence information through FISA-related documents submitted to and issued by
the FISC. The documents at issue relate to matters before the FISC and detail the FBI’s request
for PR/BR and PR/TT orders to be used in collecting intelligence information in connection with
individuals who are the subject of national security investigations. These records were compiled
for law enforcement purposes; squarely within the law enforcement duties of the FBI; and
therefore, readily meet the threshold requirement of Exemption (b)(7). The remaining inquiry
concerns whether the disclosure of such records could reasonably be expected to unveil

investigative techniques and procedures utilized by the FBI.

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EXEMPTION (b)(7)(E)
INVESTIGATIVE TECHNIQUES AND PROCEDURES

(31) 5U.S.C. § 552 (b)(7)(E) provides protection for:
law enforcement records which would disclose techniques and procedures
for law enforcement investigations or prosecutions, or would disclose
guidelines for law enforcement investigations or prosecutions if such
disclosure could reasonably be expected to risk circumvention of the law.

(32) Exemption (b)(7)(E) has been asserted to protect information which contains
internal and highly sensitive investigatory techniques and procedures that are authorized for use
by the FBI. This exemption affords categorical protection to these techniques and procedures
used in such investigations; it protects techniques and procedures not well-known to the public as
well as non-public details about the use of well-known techniques and procedures. While these
FISA documents could easily be characterized as completely consisting of information that
would disclose investigative techniques and procedures, and thus, would be eligible for
protection under (b)(7)(E) in its entirety, the FBI endeavored to release as much segregable
information as possible to the plaintiff. The release of additional information would disclose
techniques and/or procedures used in law enforcement and national security investigations or
prosecutions, or would disclose guidelines for law enforcement and national security
investigations or prosecutions, that could reasonably be expected to risk circumvention of the
law. To describe the protected information in any further detail would identify and highlight the
sensitive information the FBI seeks to protect. The revelation of such details could enable the
targets of these techniques to develop countermeasures or avoid detection in order to circumvent
the FBI’s law enforcement efforts.

(33) The FBI has provided a description of the information protected under Exemption

(b)(7)(E) and its corresponding coded category below. The FBI will provide as much

information on the public record as possible without risking the release of sensitive FBI

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techniques or procedures.

(b)(7)(E)-1: Investigative Techniques and Procedures

(34) Exemption (b)(7)(E) has been asserted, at times, in conjunction with Exemption 1
and 3 to protect information regarding the techniques and procedures utilized by the FBI in
conducting national security investigations including information that would reveal the types of
techniques and procedures that are routinely used in such investigations, and are not publicly
known as well as non-public details about the use of well-known techniques and procedures.
The government’s use of PR/BR and PR/TT orders to obtain information is a known public fact;
however, the specific techniques used under a PR/BR or PR/TT order is not well-known. All
documents, at issue, contain sensitive information about specific investigative methods and
techniques!’ used by the FBI in conducting national security investigations. The investigative
techniques are detailed throughout the withheld FISC orders (documents #12-29) as well as the
response to orders for additional briefing (document #68) that were listed above. For example,
documents 12 through 19, and 68 detail one specific technique used to collect information under
a PR/BR order while documents 20 through 29 describe another technique used under a PR/TT
order.'* All the orders contain detailed information on those specific investigative techniques
which the FBI seeks to protect. More specifically, the orders provide information on the
underlying FISA applications highlighting what information is important to the FBI as well as
detailing the types of information the FBI seeks to obtain from such order.

(35) Details about how, when, and under what circumstances these techniques are
relied upon in the context of national security investigations are not disclosed nor are these

details otherwise known to the public. Disclosure of such information could enable individuals

13 See supra J§ 10-14 and First Hardy Decl. at J 31.
"4 See First Hardy Decl. at J] 46-47.

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and organizations to circumvent the use of these techniques, and the relative benefit of it could
be diminished if details were revealed. Additionally, it could allow individuals who are the
subject of on-going investigations to uncover information that reveals the circumstances under
which these techniques are used, the usefulness of the techniques in particular types of
investigations, and the value of the information obtained. Release of this type of information
could enable subjects of investigations to educate themselves about the use of these techniques
and develop countermeasures to circumvent or negate the effectiveness of these techniques. To
describe the investigative techniques in further detail would highlight the very information the
FBI seeks to protect pursuant to this exemption. Thus, the FBI properly withheld this
information pursuant to FOIA Exemption 7(E).'°

(b)(7)(E)-5: Sensitive Law Enforcement Techniques Utilized to Conduct National
Security Investigations

(36) The FBI has transformed into an intelligence-driven agency that uses the
information it gathers to aid its mission of detecting and preventing harm to the national security.
The two essential components of this effort can be found in the techniques used to collect and
analyze intelligence information. The FBI has described this new mandate in the IRTPA;
however, the FBI has not disclosed details about the sensitive intelligence gathering/analysis
methods, techniques, and procedures by which it intends to accomplish its mission. These
sensitive techniques are primarily used in conducting national security investigations. All
documents, at issue in this litigation, are FISC orders and contain information involving sensitive
law enforcement techniques utilized by the FBI in collecting intelligence on individuals who are
the subject of national security investigations. More specifically, the PR/BR and PR/TT FISC

orders contain specific information about important investigative methods used in national

'S Exemption (b)(7)(E)-1 has been asserted, at times, in conjunction with (b)(1) and (b)(3) on the following pages:
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security investigations.'° The release of such information would reveal sensitive techniques used
by the FBI in collecting intelligence information in national security investigations, and would
afford individuals and terrorist groups the opportunity to develop countermeasures aimed at
diminishing the effectiveness of these techniques. The information protected under this
exemption contains details about sensitive law enforcement techniques used by the FBI in
collecting information under a PR/BR and PR/TT order in relation to current and prospective
criminal, counterintelligence, and national security investigations. Revealing specific details on
how these techniques are employed, potential targets of the techniques, and the nature of the
information collected would enable individuals and terrorist groups to avoid detection by
developing countermeasures and rendering the technique useless. Thus, the FBI properly
withheld this information pursuant to FOIA Exemption 7(E)."”

SEGREGABILITY

(37) All responsive, non-exempt records or portions of records referred to the FBI by
NSD have been provided to the plaintiff. During the processing of these records, each page was
individually examined to identify all non-exempt information and to determine whether it could
be reasonably segregated from the exempt information. Even though some information, if
examined in isolation, would appear benign or not sensitive, when read in conjunction with other
responsive documents, it reveals sensitive information about FBI techniques and procedures used
in national security investigations. For example, the otherwise innocuous portions of
information contained in document 68, see | 14 supra, could, when read or viewed within the
context of other available documents and information, reveal highly sensitive information to

sophisticated adversaries, for the same reasons I discussed in my prior declaration concerning an

16 See supra ¥ 35.

17 Exemption (b)(7)(E)-5 has been asserted, at times, in conjunction with (b)(1) and (b)(3) on the following pages:
EPIC-241-511.

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otherwise public Westlaw printout, see First Hardy Decl. J] 13, 16, 21. Even something as
seemingly innocuous as a case citation or statutory provision, when read in connection with a
document containing significant legal analysis of an FISA PR/BR and PR/TT application, could
reveal the particular issue being examined and could risk disclosure of the existence, nature, or
scope of an underlying FISA application and/or intelligence method and technique. See First
Hardy Decl. at { 53.

(38) All segregable information has been provided to the plaintiff. The FBI only
withheld information that was classified, protected by statute, or information, if released, would
trigger reasonably foreseeable harm to one or more interests protected by the cited FOIA
Exemptions.

CONCLUSION

(39) The FBI has reviewed, processed, and released all non-exempt information from
records provided by NSD. Accordingly, all reasonably segregable, non-exempt information has
been released to plaintiff and the FBI’s justification for withholding such information has been
detailed in the First Hardy Declaration and in this supplemental declaration.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. 4 L

Executed this "| ~ day of November, 2014.

David M. Hardy

Section Chief

Record/Information Dissemination Section
Records Management Division

Federal Bureau of Investigation
Winchester, Virginia

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